
788 So.2d 955 (2001)
D.N.S., Petitioner,
v.
STATE of Florida, Respondent.
No. SC00-1726.
Supreme Court of Florida.
June 14, 2001.
James Marion Moorman, Public Defender, and Richard J. Sanders, Assistant Public Defender, Tenth Judicial Circuit, Bartow, FL, for Petitioner.
Robert A. Butterworth, Attorney General, and Michael J. Neimand, Assistant Attorney General, Fort Lauderdale, FL, for Respondent.
PER CURIAM.
We have for review D.N.S. v. State, 772 So.2d 17 (Fla. 2d DCA 2000), in which the Second District Court of Appeal certified the following questions to be of great public importance:
AT WHAT LEVEL OF SCRUTINY MUST A COURT EXAMINE THE CONSTITUTIONALITY OF A JUVENILE CURFEW ORDINANCE?
IS THE TAMPA JUVENILE CURFEW ORDINANCE CONSTITUTIONAL?
Id. at 17. We have jurisdiction pursuant to article V, section 3(b)(4), Florida Constitution.
In T.M. v. State, 784 So.2d 442 (Fla. 2001), we answered a question similar to the instant first certified question by holding that strict scrutiny applies to juvenile curfew ordinances. As in T.M., we decline to answer the second certified question, quash the decision of the district court, and remand this case for further proceedings.
It is so ordered.
WELLS, C.J., and SHAW, HARDING, ANSTEAD, PARIENTE, LEWIS and QUINCE, JJ., concur.
